        Case 1:06-cr-00313-DAD Document 391 Filed 12/16/09 Page 1 of 2


1    David V. Balakian, SBN 166749
     BALAKIAN LAW OFFICES
2    2014 Tulare Street, Suite 210
     Fresno, CA 93721
3    Tel. (559) 495-1558
     Fax. (559) 495-1004
4    davidbalakian@sbcglobal.net.net
5    Attorney for Defendant, SAROM SAO
6
7
8
                               UNITED STATES DISTRICT COURT
9
                               EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,)           Case No. 1:06 CR 00313 LJO
                              )
13                            )
                Plaintiff,    )           STIPULATION AND ORDER
14                            )           TO CONTINUE SENTENCING
            vs.               )
15                            )
     SAROM SAO,               )
16                            )
                Defendant.    )
17                            )
18
            THE PARTIES HEREBY STIPULATE AND AGREE that the sentencing
19
     hearing presently set for Friday, December 18, 2009, at 9:00 a.m.,
20
     be continued to Friday, February 19, 2010, at 9:00 a.m.
21
            Defendant requires a safety valve interview pursuant to USSG
22
     section 5C1.2(a)(5). Without safety valve relief, the statutory
23
     minimum is 10 years in prison.
24
            Pursuant to Federal Rules of Criminal Procedure section 18
25
     U.S.C. 3161, the parties agree that any delay resulting from this
26
     continuance shall be excluded in the interest of justice.
27
28
       Case 1:06-cr-00313-DAD Document 391 Filed 12/16/09 Page 2 of 2


1    Dated: December 14, 2009.                 /s/ DAVID BALAKIAN
                                               David Balakian,
2                                              Attorney for Defendant,
                                               SAROM SAO
3
4    Dated: December 14, 2009.                 /s/ KATHLEEN SERVATIUS
                                               Kathleen Servatius,
5                                              Assistant U.S. Attorney.
6                                              Stipulation has been agreed to
                                               by Ms. Servatius.
7
8
                                        ORDER
9
     GOOD CAUSE EXISTS FOR THE CONTINUANCE.        THE REQUEST IS GRANTED.
10
     IT IS SO ORDERED.
11
     Dated:   December 15, 2009           /s/ Lawrence J. O'Neill
12   b9ed48                           UNITED STATES DISTRICT JUDGE
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                         2
